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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF ILLINOIS

Case No. 24-40024
Original Chapter 13 Plan
Amended Plan Number 3_

(Changes must be underlined)
UO Limited Service Applicable

In re:
KEVIN W THIES
MICHELLE CLELAND-THIES

Debtor(s)

CHAPTER 13 PLAN AND NOTICE OF TIME TO OBJECT

CHAPTER 13 PROCEDURES MANUAL The provisions of the Court’s Chapter 13 Procedures Manual are incorporated herein by
reference and made part of this Plan. This manual is available at www. ilsb. uscourts. gov.

YOUR RIGHTS WILL BE AFFECTED You should read this plan carefully and discuss it with your attorney. Anyone opposing any
provision of this Plan as set forth below must file a timely written objection. This Plan may be confirmed without further notice
unless written objection is filed and served within 21 days after the conclusion of the 11 U.S.C. § 341(a) Meeting of Creditors.
Objections to an amended Plan must be filed and served within 21 days after the date of filing of the amended Plan.

_ THIS PLAN DOES NOT ALLOW CLAIMS A Creditor must file a timely Proof of Claim to receive distribution as set forth in this
Plan. Even if the Plan provides for payment, no payment will be made unless a Proof of Claim is timely filed.

If the debtor is not represented by counsel, any party filing a proof of claim must serve the debtor with notice that the claim has been
filed and with a copy of the claim. Any pleadings that are filed in relation to the claim also must be served on the debtor.

IF A TIMELY CLAIM IS NOT FILED, AS PERMITTED BY FED. R. BANKR. P. 3002(c), 3004 OR FURTHER ORDER OF
THIS COURT, ALL AMOUNTS RECEIVED BY THE TRUSTEE FOR THE UNFILED CLAIM WILL BE DISBURSED TO

OTHER CREDITORS PURSUANT TO THE ORDER OF DISTRIBUTION.
If you have a secured claim, this Plan may void or modify your lien if you do not object to the Plan.

The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the
plan includes any or all of the following items. If an item is checked as “Not Included” or if both boxes are checked, the

provision will be void if set out later in the plan.

I. A limit on the amount of a secured claim, set out in Sections 3E, 3F, or 4B, which | EJIncluded | [1 Not Included
may result in a partial payment or no payment at all to the secured creditor

II. | Avoidance of a judicial lien or nonpossessory, non-purchase money security UIncluded Not Included
interest, set out in Section 9

III | Nonstandard provisions set out in Section 24. O Included Not Included

1. PAYMENTS

The Debtor submits to the Standing Chapter 13 Trustee the following regular periodic plan payments to be received within the
applicable commitment period of the Plan. These payments represent the Debtor(s)” anticipated projected disposable income. The
payment schedule is as follows: . . . . on.

Start Month # End Month # ~Monthly Payment
1 2 $2,688.00
3 4 $3,018.00
5 60 $2,615.00

Wage Order Required: [1 Yes No OePay TFS (Must list employer information)

~The Debtor-from-whose-check-the-payment-is-deducted:-Kkevin-Thies
Employer’s name, address, city, state, phone: Heartland Mechanical Contractors, 511 Health Dept Rd, Murphysboro, IL
62966

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IMPORTANT PAYMENT INFORMATION

NOTE: The regular periodic plan payments to the Trustee must commence within 30 days of the filing
of the petition. The Debtor(s) must make direct payments to the Trustee by money order or cashier’s
check until the employer deduction begins. Include your name and case number on your money order
or cashier’s check. Contact the Trustee for the payment mailing address.

In addition, the Debtor(s) may have to pay into their Plan additional non-regular payments as a result
of tax refunds (See, Paragraph 19) or if they receive any other non-regular income, such as lawsuit
proceeds, etc. (See, Paragraph 20).

ORDER OF DISTRIBUTION

The following order of priority shall be utilized with respect to all payments received under the Plan terms:

1. The Trustee's fees for each receipt, the percentage of which is fixed by the U.S. Trustee;

2. Any unpaid portion of the filing fee;
3. Notice fees equal to $.50 per page of the Plan, multiplied by the number of creditors listed on the debtor’s

mailing matrix;

Ongoing mortgage payments on real estate;

Allowed administrative expenses;

Attorney’s fees and other secured creditors as set forth in the Chapter 13 Procedures Manual;
Priority creditors as set forth in the Plan;

Any special class of unsecured creditors as set forth in the Plan; and

General unsecured creditors.

SPN AAS

2. ADMINISTRATIVE EXPENSES

Administrative Creditor Estimated Amount of Claim

ATTORNEY’S FEES

3.

~—The-attorney for the debtor(s) shall be paid-attomey’s fees-as specified in the plan and according to the Court’s- Chapter 13°

Attorney name: JAY B. HOWD, BANKRUPTCY CLINIC, PC
Flat fee through Plan $3,000.00 OR

0) The Debtor’s counsel elects to be paid on an hourly basis and will file a fee application(s) for approval of fees. No fees shall
be disbursed until a fee application is approved by the Court. However, the Trustee shall reserve a total of $4,500. 00 for payment
toward such application, pursuant to the Order of Distribution and the Chapter 13 Procedures Manual: -

Procedures Manual. Confirmation of this plan does not remove the attorney for the debtor as attorney of record in this case, The
attorney for the debtor shall remain counsel of record until the earlier of either closing of the case or the entry of an order
allowing the attorney for the debtor to withdraw.

REAL ESTATE — CURING DEFAULTS AND MAINTAINING PAYMENTS

Post-petition payments shall be made by the Trustee if (i) a pre-petition default exists; (ii) a post-petition, pre-confirmation
default occurs; or (iii) a post-confirmation default arises that cannot be cured by the Debtor within six months. Otherwise,

post-petition payments may be made directly by the Debtor to the creditor. Where the Trustee is disbursing the ongoing
payments, the first mortgage payment to be disbursed will be that which becomes due in the second month after the month in
which the petition is filed. For example, if the petition was filed in January, the first mortgage payment is due in March. In this

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situation, a mortgage holder should file a “pre-petition” claim that includes both the pre-petition arrearage and all! post-petition
contractual payments not disbursed by the Trustee as set forth above. Similarly, a Debtor must include the amount of any such
payment(s) in the pre-petition arrearage calculation. (See the Chapter 13 Procedures Manual for examples and further

instruction.)

For ongoing payments brought in due to a post-petition default, payments by the Trustee are to begin on the first due date after the
month in which the amended or modified Plan is filed, or as otherwise ordered by the Court. All payments received from the
Trustee must be credited by the creditor as the Plan directs. Pursuant to 11 U.S.C. § 524), ongoing post-petition mortgage
payments tendered under the Plan by either the Trustee or the Debtor shall be credited by the holder and/or servicer of said claim
only to such payments and may not be used for any other purpose without prior approval of the Court. Pursuant to 11 U.S.C. §
524(i), payments for pre-petition mortgage arrearages tendered under the Plan by the Trustee shall be credited by the holder
and/or servicer of said claim only to such arrearages and may not be used for any other purpose without prior Court approval

The Chapter 13 Procedures Manual sets forth the terms concerning notice of payment changes; notice of fees, expenses and
charges; form and content of said notice; determination of fees, expenses or charges; notice of final cure payment; response to
notice of final cure payment; determination of final cure and payment; and the consequences of the failure to notify. Ifa conflict
arises between the terms set forth in the Chapter 13 Procedures Manual and any bankruptcy rule, the federal and local bankruptcy

rule(s) shall supersede the Manual.
A) Payment of ongoing post-petition mortgage payments by the X Debtor(s) or Co-Obligor (check one)
is as follows:

Creditor Lien Property Address Estimated Payment Payment
No. Monthly Payment | Start Date End Date

B) Payment of ongoing post-petition mortgage payments by the Trustee is as follows:

Estimated Payment Start | Payment
Creditor Lien Property Address Monthly Date End Date
No. Payment
Freedom Mortgage 1 2015 Union School Rd $1,002.17 March 2024 | Through
Corp Ava, IL 62907 Plan

Duration

The estimated monthly payment amount referenced in Part 3A and 3B above may change based upon Proof(s) of Claim

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C) Payment of pre-petition arrearages; first post-petition (“limbo”) payment; and/or post-petition arrearages, arising from
add default in mortgage payments that were being made directly by the Debtor to the creditor, are as follows:

Lien Type of
a No. . . . . Payment (i.e.
Creditor Property Address Estimated Claim Limbo, Pre or
Post-petition)
Freedom Mortgage Corp. 1 2015 Union School Rd., $1,002.17 Limbo
Ava, IL 62907
Freedom Mortgage Corp. 1 2015 Union School Rd., $6,085.46 Pre-petition
Ava, IL 62907 arrearage
Freedom Mortgage Corp. 1 2015 Union School Rd., $200.00 Post-petition
Ava, IL 62907 fees
D) Real Estate Secured Claims which will be paid in full:
Lien
Creditor No. Property Address Estimated Claim | Interest Rate

THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION I ABOVE.

E) Residential Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Lien Stripping”):

The Debtor will file a separate adversary proceeding to avoid the following wholly unsecured mortgages. Claims listed in this
subsection are debts secured by real estate on the Debtor’s primary residence. These claims are being modified pursuant to 11 U.S.C.
§ 1322(b)(2). The real estate mortgage in question is not protected by the anti-modification provision of Section 1322(b)(2) either
because the value of the real estate minus any priority liens indicates no value to support a secured claim under 11 U.S.C. § 506(a) or
that the loan has matured pursuant to 11 U.S.C. § 1322(c). (The appropriate section is indicated below.) That pursuant to 11 U.S.C. §
1325(a)(5)(B) the creditor will continue to retain the lien on the residential real estate until the Debtors receive a discharge pursuant to
Section 1328 of the Bankruptcy Code. Upon the entry of the order of discharge the lien is voided. These claims will be paid either the

value of the-secured-property-as stated-below-or-the secured-amount of that-clainr as-listed-on the Proof of Claim, whichever is tess;
with interest as provided below. Any portion of a claim that exceeds the value of the secured property will be treated as an unsecured
claim without the necessity of an objection.

Value of Real Estimated Code Section
Creditor Property address Estate After Estimated Interest Month! Relied Upon
Priority Liens are Claim Rate Payment [1322(b)(2) or

Deducted 1322(c)]

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THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION I ABOVE.
F) Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):

Claims listed in this subsection are debts secured by real estate that is not the Debtor’s primary residence. These claims will be paid
either the value of the secured property as stated below or the secured amount of that claim as listed on the Proof of Claim, whichever
is less, with interest as provided below. Any portion of a claim that exceeds the value of the secured property will be treated as an

unsecured claim without the necessity of an objection.

Value (after Estimated
Creditor Property Address deducting all | Estimated Claim | Interest Rate Monthly
senior liens) Payment

G) Real Estate Property Tax Claims shall be paid as follows: To the extent that taxes become due during the Plan, they will bs
paid directly by the Debtor or pursuant to any applicable note and mortgage on the property. Real estate taxes that were due when the
bankruptcy was filed will not be cured or paid by the Trustee under this Plan. Rather, the Debtor(s) need to make separate

arrangements to pay these unpaid taxes directly to the party to whom they are owed.

4, SECURED CLAIMS AND VALUATION OF COLLATERAL UNDER 11 U.S.C. SECTION 506

A) Secured Claims to which 11 U.S.C. § 506 Valuation is NOT Applicable (“910 Claims”):

Claims listed in this subsection are debts secured by a purchase-money security interest in a personal motor vehicle acquired for the
personal use of the debtor, incurred within the 910 days preceding the date of the filing of the bankruptcy or debts securec. by a
purchase-money security interest in "any other thing of value” incurred within one year preceding the date of the filing of the

bankruptcy. These claims will be paid in full with interest as provided below.

we . Estimated Interest Estimated
Creditor Collateral Claim Rate Monthly Payment

THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION I ABOVE.

B) Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):

Claims listed in this subsection.are debts secured by personal property.#ot-described in the immediately preceding paragraph of this. - -
Plan. These claims will be paid either the value of the secured property as stated below or the secured amount of that claim as listed

on the Proof of Claim, whichever is less, with interest as provided below. Any portion of a claim that exceeds the value of the secured

property will be treated as an unsecured claim without the necessity of an objection.

For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below.

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C) Surrender of Property:

This section allows for the surrender of collateral. The Debtor surrenders any and all right, title and interest in the following
collateral. If the creditor believes that it may be entitled to a deficiency claim under applicable law, then the secured creditor must file
its secured claim before the non-governmental claims bar date. Within 90 days following the claims bar date, the secured creditor
shall file an amended Proof of Claim indicating the unsecured deficiency balance (if any), unless an extension is approved by
the Court. Any objection to a timely filed deficiency claim shall be filed within 45 days of the date the deficiency claim was filed, or
the same is deemed allowed. Absent leave of Court, deficiency claims filed outside of this 90-day period (or any extension granted by
the Court) are deemed disallowed without action by any party. Upon entry of the Order lifting the automatic stay, the Debtor must
reasonably cooperate with the creditor in either making the collateral available for pickup or in supplying information of the
collateral’s last known location.

CO The debtor(s) elect to surrender to each creditor listed below the collateral that secured the creditor’s claim. The debtor(s) request
that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay

under § 1301 be terminated in all respects.

we . Estimated Monies Previously
Creditor Collateral Surrendered Paid by the Trustee
5. SEPARATELY CLASSIFIED CLAIMS
os Collateral Secured/ Estimated Interest .
Creditor Unsecured Claim Rate Paid By

6. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

All executory contracts and unexpired leases are rejected, except the following which are assumed:

A) Payment of executory contracts and unexpired leases directly by the Debtor is as follows:

# of
Creditor Collateral Monthly Payment Payments
Remaining
B) Payment of arrearages by the Trustee is as follows:
Estimated
Creditor Collateral Address Est. Claim | Int. Rate Monthly
Payment

Since the claims in Part 3E, 3F, 4A, 4B and 6B are based on the allowed claim amount, the estimated monthly payment in those

7, PRIORITY CLAIMS

A) Domestic Support Obligations:
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The Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim and not through the
Chapter 13 Plan.

1. Name of Debtor owing a domestic support obligation:

Is DSO
. . : one Ongoing
DSO Claimant Name Address, City, State and ZIP Estimated Arrearages Obligation?

[Y or N]

B) Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C. § 507(a)(1)(B):

. . timated A t to b State Agenc
Government Entity Estimated Arrearages Estimate Paid oe Case N bey

C) Secured Income Tax Claims and Priority Claims Under 11 U.S.C. § 507:

All allowed secured tax obligations shall be paid in full by the Trustee as set forth herein. All allowed priority claims shall be paid
in full by the Trustee as set forth herein, unless the creditor agrees otherwise:

Creditor Priority OR Secured Estimated Claim Interest Rate
(Must list the classification) Amount (If Secured)
Illinois Dept. of Revenue , Priority $13,039.10 0%
IRS Priority . $30,596.12 0%
Illinois Dept. of Revenue Secured $1,687.21 7.5%

8. LONG-TERM DEBTS PAID DIRECTLY BY THE DEBTOR OR CO-DEBTOR TO THE CREDITOR

Is there a Estimated Monthl Number of
Creditor Collateral Co-Debtor? [Y or : y Payments
Claim Amount Payment .
N] Remaining

THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION IT ABOVE.

9. AVOIDANCE OF LIENS

The Debtor will file a separate motion to avoid the following non-purchase money security interests, judicial liens, or other liens that

impair exemptions. Until such time as a motion is filed, the Trustee shall make no disbursements thereon. Upon entry of an order
avoiding the lien, the Trustee shall treat said claims as unsecured and pay them pursuant to paragraph 10.

Creditor Collateral Amount of Lien to be
Avoided

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10. UNSECURED CLAIMS:
The minimum amount the Debtor must pay to all classes of allowed non-priority unsecured claims is x] $0,00 (Amended

Form122C-2) or CJ 100%

11. POST PETITION CLAIMS
Post-petition claims shall not be paid by the Trustee unless the Debtor amends the Plan to specifically address such claims. Absent

such an amendment, the Trustee shall not disburse any monies on said claims and these debts will not be discharged.

12. LIEN RETENTION
With respect to each allowed secured claim to be paid in full through the Plan, other than mortgage or long-term debts, the holder of

such claim shall retain the lien securing its claim until the earlier of Gj) the payment of the underlying debt determined under
non-bankruptcy law; or (ii) entry of the discharge order under 11 U.S.C. § 1328.

13. PROOF OF LIEN PERFECTION
Any individual and/or entity filing a secured claim must provide the Chapter 13 Trustee, the Debtor, and Debtor’s counsel with proof

of lien perfection at the time its claim is filed and shall attach such documentation to its Proof of Claim pursuant to Bankruptcy Rule
3001.

14. VESTING OF PROPERTY OF THE ESTATE
Only property of the estate listed on an original or amended Schedule A/B as of the date of confirmation shall revest in the Debtor

upon confirmation of the Debtor’s Plan. All undisclosed, pre-petition property shall vest in the Trustee and become property of the
estate. Property acquired by the Debtor post-petition shall vest in the Trustee and become property of the estate as contemplated by
11 U.S.C. Section 1306, subject to the dollar limitations and procedures set forth in Paragraph 20, Assets Acquired Post-Petition,
below. (This includes, for example, property previously disclosed, such as a personal injury claim, worker’s compensation claim,
inheritance or class action, but liquidated and/or acquired post-petition.) Furthermore, the Debtor shall promptly notify the Trustee of

the acquisition of any right and/or interest in such property.

15, PAYMENT NOTICES
Creditors in Section 3 of this Plan (whose rights are not being modified) and in Section 6 of this Plan (Assumed Executory

Contracts/Unexpired Leases) may continue to mail customary notices or coupons to the Debtor or Trustee notwithstanding the
automatic stay.

16. OBJECTIONS TO CLAIMS
Absent leave of Court, any objection to a timely filed general unsecured claim shail be filed within 45 days following the expiration of
the claims bar date for that claim. Objections to secured and/or amended claims shall be filed within 45 days from the applicable

claims bar date or within forty-five 45 days from the date of filing of the claim, whichever is later.

17, STAY RELIEF
Notwithstanding any provision contained herein to the contrary, distribution to a secured creditor(s) who obtains relief from the

automatic stay will terminate immediately upon entry of an Order lifting or terminating the stay, except to the extent that an unsecured
deficiency claim is subsequently filed and allowed. Absent an Order of the Court, relief from the automatic stay shall also result in

the Trustee ceasing distribution to all junior lien holders.

18 DEBTOR REFUNDS
Upon written request of the Debtor or Debtor(s)’ counsel, the Trustee is authorized to refund to the Debtor, without Court approval,

any erroneous overpayment of regular monthly payments received during the term of the Plan that have not been previously
disbursed.

19. DEBTOR(S)’ DUTIES WITH REGARD TO POST-PETITION TAX RETURNS AND TAX REFUNDS

By April 30" of each year, the Debtor(s) shall provide the Trustee with a true and complete signed copy of their state and federal
income tax return(s) for the preceding year. If an extension is filed, or the Debtor(s) are not required to file a return, by April 30" of

each year, the Debtor(s) shall provide the Trustee with an executed copy of the \extension, or Affidavit stating they are not required to
file said return(s). The Trustee shall compute the amount, if any, of the Debtor(s)’ refund that must be turned over and send the
Debtor(s) a letter notifying them of this amount. This amount is calculated as follows: any amount (excluding that received before the
commencement of the case) that exceeds (i) monies credited for Earned Income Credit and/or Child Tax Credit; (ii) $750.00 per
Debtor; and (iti) after deductions made for monies owed and/or incurred for reasonable tax preparation fees, provided they are
disclosed to the Trustee at the time of the submission of the tax returns..

These additional proceeds shall increase the minimum required distribution to the Debtor(s)’ allowed general unsecured creditors as
set forth in Paragraph 10 and the Trustee is authorized to increase the base amount of the Debtor(s)’ Plan accordingly. The distribution
of these proceeds shall be made in accordance with Paragraph 1, Order of Distribution. Said funds must be tendered to the Trustee
within 30 days of the date of said letter. Failure of the Debtor(s) to comply with any of the time parameters set forth herein will result

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in the dismissal of the case without further notice or hearing upon the Trustee's certification of said default. Notwithstanding the
foregoing, nothing contained herein shall prohibit the Debtor(s) from timely filing a Motion with the Court, seeking authorization to
retain all or any portion of such future tax refunds upon a showing of substantial need.

20. ASSETS ACQUIRED POST-PETITION

Should the debtor(s) acquire or receive any interest in property, outside of their previously disclosed normal financial affairs, with a
fair market value exceeding $2,000.00, AND/OR any interest in property with an undetermined, unliquidated, or unknown value, they
shall immediately file the appropriate amended schedule(s) to disclose the acquisition or receipt of the same. Examples of such
property include, but are not limited to, any financial recovery to which debtor(s) is or becomes entitled to receive during the
pendency of the Chapter 13 plan, claims for personal injury, worker’s compensation employment/back-pay, worker’s compensation
claims, inheritance, life insurance proceeds, bonuses, or gifts. Upon the filing of said amended schedules, the Chapter 13 Trustee or
other party in interest shall have sixty (60) days to file a motion for turnover of the value of the property at issue. Debtor(s), in turn,

may file an objection to such motion within twenty-one (21) days seeking leave to retain the value of such property. In the absence of
such motion, or if the motion is denied, the value of the property will be deemed to have been abandoned by the bankruptcy estate.

The value of any interest in property acquired by Debtor(s) that is subject to this Paragraph, whether or not disclosed on amended
schedule(s), shall constitute a payment under the plan due upon Debtor(s)’ interest accruing unless or until the interest is abandoned
by the Trustee pursuant to the procedures established by this Paragraph. The value of any property ordered to be turned over to the
Trustee shall be paid into the debtor(s)’ plan as a payment under the plan, inclusive of trustee fees. The Trustee is hereby authorized
to increase the plan base and minimum required distribution to the Debtor(s)’ allowed general unsecured creditors as set forth in
Paragraph 10 consistent with the provisions of this Paragraph. The Trustee shall thereafter disburse the value of property received
under this Paragraph in accordance with the provisions of Paragraph 1, Order of Distribution.

21, MISCELLANEOUS TRUSTEE DISBURSEMENT PROCEDURES
No payment in an amount less than $15.00 shall be distributed by the Trustee to any creditor. Funds not distributed because of

Bankruptcy Rule 3010(b) shall be paid whenever the accumulation aggregates $15.00. Any funds remaining shall be distributed with
the final payment.

After satisfaction of all allowed secured and priority claims being paid by the Trustee, the Trustee is directed to distribute the
remaining proceeds of the debtor’s plan base to those creditors whose claims have been allowed, but not to exceed 100 percent of the

amount of any claim.

22, PLAN NOT ALTERED FROM LOCAL FORM
By signing this Plan below, the Debtor and the Debtor’s counsel certify that the Plan is the local form authorized by the Court and

contains no non-standard provisions other than those in Paragraph 24.

23. REASON(S) FOR AMENDMENT(S)
Set forth a brief, concise statement of the reason(s) for the amendment(s). In addition, if there is a substantial change to the

proposed Plan payments, or if the Trustee so requests, file an amended Schedule I & J.
Amended Plan is being filed in conjunction with Amended Form 122C-2 with Line 9b and Line 33a to reflect corrected
mortgage amount based on Proof of Claim 10. Corrected arrearage cure amount on Line 34 based on claim filed, Line 43 of

122C-2 adds in added expense of limbo payment and post-petition mortgage fees. Line 46 reflects reduced income from bonuses
wp 1O9.(4 J.

—_—-received-in-December-2023-coupled-with-inereased-federal-tax-withholdings-not-reflected-in-paystubs-shown-on-Form122C

THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION II ABOVE,

24, NONSTANDARD PLAN PROVISIONS
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not

otherwise-included_in-the-Local_Form.or-deviating-from_-it_Nonstandard_-provisions.set-out-.elsewhere-in this_plan-are_void

Signatures

/s/ Jay BeHowd 3 - bo _._, Date: Tane 19,2024 |
‘Signature of Attomey io Debtor Se St
-isiKevin W-Thies os a — — Date:-June-19;-2024

/s/ Michelle Cleland- Thies Oo Date: June 19, 2024

-Signature( s) of Debtor( (S) (required if nc not at represented. by. . oo

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing document was served
upon the following concerned individuals and all parties listed on the previously filed mailing matrix, including
secured creditors, and all those who filed a claim in this case and/or entered their appearance in this case via US

Mail on June 19, 2024, unless served via electronically.

“Served Electronically: "

~ United States Trustee

Russell C. Simon, Chapter 13 Trustee es

/s/ Donna ee
Bankruptcy Clinic, PC

